90 F.3d 102
    In re John A. ANDREWS, Debtor.John A. ANDREWS, Plaintiff-Appellant,v.The RIGGS NATIONAL BANK OF WASHINGTON, D.C., Claimant-Appellee.Richard G. HALL, Trustee-Appellee,v.FIRST AMERICAN BANK OF VIRGINIA, Claimant.
    No. 93-2095.
    United States Court of Appeals,Fourth Circuit.
    July 23, 1996.
    
      Prior report:  80 F.3d 906.
      ORDER
      WIDENER, Circuit Judge.
    
    
      1
      Upon a request for a poll of the court on the petition for rehearing en banc, voting for rehearing en banc were Judges Russell, Widener and Hall, and voting against rehearing en banc were Judges Wilkinson, Murnaghan, Wilkins, Niemeyer, Hamilton, Luttig, Williams, Michael and Motz.  Judge Ervin did not participate in this decision.
    
    
      2
      It is accordingly ADJUDGED and ORDERED that the petition for rehearing en banc shall be, and it hereby is, denied.
    
    
      3
      The panel considered the petition for rehearing and is of opinion it is without merit.
    
    
      4
      It is accordingly ADJUDGED and ORDERED that the petition for rehearing shall be, and it hereby is denied.
    
    
      5
      Judges WILKINS and ELLIS concur in this order.
    
    
      6
      Judge WIDENER dissents.  He would grant rehearing for the reasons expressed in his dissenting opinion.
    
    